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Case 1:12-cv-01140-WSD Document 1

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Attomeys for PIaintiff, Eleda Cohcn

ELEDA COHEN

Plaintif‘fs,
v.

WRIGHT IV[EDICAL GROUP, ]NC.,

a corporation, WR_IGHT MEDICAL
TECHNOLOGY, INC., a corporation,
and DOES 1 through 100, Inclusive,

Defendants.

 

Steven R. Vartazarian, Esq. (SBN: 227635) \
THE VARTAZARIAN LAW F[RM, APC `\

 

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UNI'I`ED S'I`ATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNlA

CON[PLAINT FOR

(1) Strict Products Liability
(2) Breach of Warranty

(3) Negligence

DEMAND FOR JURY 'I`RIAL '

GE NERAL ALLEGATIONS
Plaintif‘f, ELEDA COHEN, brings this action against defendants WRIGHT
MEDICAL GROUP, INC., a corporation, WRIGHT M'EDICAL TECHNOLOGY, INC.,

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COMPLAINT FOR DAMAGES

Cohen v. Wrigh! Medical Group, Inc., et al

 

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a corporation, and DOES 1 through 100, inclusive, (collectively “Defendants”) and
alleges as follows:

1. Plaintiff ELEDA COHEN is a resident of Los Angeles, California at all
relevant times.

2. Defendant Wright Medical Group, Inc., a corporation, is a citizen of the
State of Delaware (where incorporated) and the State of Tennessee (principal place of
business), and is the parent company of Defendant Wright Medical Technology, lnc., a
corporation, which is a citizen of the State of Delaware (where incorporated) and the
State of Tennessee (principal place of business).

3. Directly and/or through its aforesaid subsidiaries, Defendants designed,
manufactured, distributed and sold in California various orthopedic hardware including
the “Conserve Plus Total Hip Replacement System” prosthesis system at issue in this
case.

4. The true names and capacities, whether individual, corporate, associate,
govemmental, or otherwise of DOE l through DOE 100, inclusive, are unknown to
plaintiffs at this time, who therefore sue said defendants by such fictitious names. When
the true names and capacities of said defendants are ascertained, plaintiffs will amend this
Complaint accordingly Plaintiffs are informed and believe, and thereon allege, that each
of the defendants designated herein as a DOE was and is responsible in some manner for
the events and happenings herein referred to and their conduct directly, proximately and
legally caused the injuries and damages sustained by plaintiffs as herein alleged, either
through said defendants' own conduct or through the conduct of their agents, servants, or
employees, or in some other manner.

5. At all times herein mentioned, each defendant named herein was and is the
duly authorized agent, employee, servant, partner and/or joint venturer of the other co-

defendants, acting within the course and scope of said relationship Further, when acting

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as a principal, each defendant approved, consented to, and ratified the acts and conduct of
his, her or its co-defendants.

6. In and around September l, 2007, Plaintiff ELEDA COHEN had a
degenerative bilateral hip condition which indicated total hip replacements on both her
right and left hips. Therefore, on September l, 2007, she underwent surgery to receive
bilateral hip implants. On her right hip, Plaintiff received a Wright Medical Technology
Conserve Plus 50 MM acetabular component along with a 44-3.5 head, short ARVDI
neck and profemur Z size 2 femoral component (hereinafter referred to as the "Conserve
Plus Total Hip Replacement Systern"). It is important to note that the femoral component
(the ball portion of the implant) and the acetabular component (the socket portion of the
implant) are both metal. The acetabular cup had engraved upon it serial number "CoCI
38024450 WRIGHT 437755." On her left hip, the total hip arthroplasty was performed
using a product from a different manufacturer, Zimmer, which was metal on plastic as
opposed to metal on metal.

7. In and around early 2009, plaintiff began experiencing pain, discomfort,
loss of mobility, of her right hip which led to a decrease in the quality of her life. At the
time she complained of the symptoms to her physician the etiology of her complaints was
unknown. Shortly thereafter, she was diagnosed with a right hip rejection "secondary to
reaction to the cobalt steel-nickel in the hip." Essentially, the hip implant was failing
because it was releasing particles of metal into the hip joint and surrounding tissue. As a
result of this fmding, and on June 23, 2009, plaintiff underwent a revision surgery
whereby the right hip implant placed in 2007 was removed and revised with a metal on
plastic implant similar to what she had on the left side.

8. Plaintiff did not understand why her hip implant had failed other than her

body had rejected it because she was supposedly allergic to it.

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COMPLAINT FOR DAMAGES
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9. In and around July/August of 2011, Plaintiff for the first time learned the
reason why she required the subsequent surgery in 2009 was because the Wright hip
implant she received in 2007 was defective Shortly thereafter, plaintiff sought counsel to
investigate the cause behind her 2009 hip revision.

10. Based on these suspicions and after conferring with her attorney, Plaintiff
obtained a copy of her medical records from Cedars-Sinai Medical Center on November
7, 2011. A review of the records, and research into the product revealed essentially the
following: The conserve cup component manufactured by Defendants is essentially an
unlined cast cobalt chromium component, which during its use endures constant friction
from rubbing on the metal ball component of the hip implant system. As a result of this
friction, small particles of metal are released into the hip joint and surrounding tissue
resulting in metallosis and biologic toxicity. As a result of this phenomenon continuing
from September l, 2007, and up to in and around early 2009, plaintiff began experiencing
the pain, discomfort, loss of mobility and decreasing the quality of her life that indicated
the implants removal and subsequent revision surgery of June 23, 2009.

_ FIRST CAUSE OF ACTION
(By ELEDA COHEN for Strict Products Liability Against All Defendants, for
defectively designing, and/or manufacturing the Conserve Plus Total Hip
Replacement System as described above)

ll. Plaintiff re-alleges and incorporates herein by reference the above
paragraphs l through 10 as if fully set forth herein.
MANUFACTURING DEFECT

12. Plaintiff contends that the Conserve Plus Total Hip Replacement System as
described herein and used to replace her right hip on September l, 2007 contained a
manufacturing defect. Plaintiff contends that Defendants manufactured, distributed, and
sold the conserve plus total hip replacement system in California. Plaintiff contends that

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COI\/[PLAINT FOR DAMAGES
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the product contained a manufacturing defect when it left the Defendants possession
Plaintiff further contends that the product caused harm to the plaintiff by resulting in
metal toxicity and indicating a subsequent extensive revision surgery. Plaintiff claims that
the products manufacturing defect was a substantial factor, and the only factor, and
causing plaintiffs harm as stated herein.
DESIGN DEFECT
A. Consumer Expectation Test

l3. Plaintiff claims that the products designed was defective because the
product did not perform as safely as an ordinary consumer would have expected it to
perform. Specifically, plaintiff who was an ordinary consumer formed a reasonable
minimum safety expectation that the hip implant system manufactured by Defendants
would not result in metal toxicity within two years and require removal. Plaintiff
expected that the product would last upwards of 15 years without causing any toxicity or
complication ot` any kind.

l4. Plaintiff further alleges that Defendants manufactured, distributed, and sold
the defective product within California. Plaintiff alleges that the product did not perform
as Safely as an ordinary consumer would've expected it to perform when used in the
manner intended by the manufacturer. Plaintiff further contends that she was harmed by
the defective design of the product when it caused her to develop metal toxicity and
require the implants removal. Plaintiff contends that the products failure to perform
safely was a substantial factor, and the only factor, in causing plaintiffs harm as stated
herein.
B. Risk-Benefit Test

15. Plaintiff claims that the products designed caused harm to plaintiff Plaintiff
contends that Defendants manufactured, distributed and sold the subject product in
California. Plaintiff contends that she was harmed by the product as a result of its design

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COMPLAINT F§R DAMAGES
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when it caused plaintiff to develop metal toxicity and indicate the products removal from
her right hip. Plaintiff contends that the products design was a substantial factor, and the
only factor, in causing her harm as stated herein

FAILURE TO WARN

16. Plaintiff claims that the Conserve Plus Total Hip Replacement System
lacked sufficient warning of the potential risks and/or side effects. Plaintiff contends and
alleges that the Conserve Plus Total Hip Replacement System had potential risks and/or
side effects that Were known and/or knowable by the use of scientific knowledge
available at the time of the manufacture, distribution, and/or sale. Plaintiff is further
informed and believes and thereon alleges that the potential risks and/or side effects
presented a substantial danger to users of the Conserve Plus Total Hip Replacement
System and that ordinary consumers would not have recognized the potential risks and/or
side effects. Plaintiff further contends and alleges that Defendants failed to adequately
warn of the potential risks and/or side effects of the Conserve Plus Total Hip
Replacement System. Furthermore, here, the Conserve Plus Total Hip Replacement
System was used in a way that was reasonable foreseeable to Defendants and as a result
of its usage Plaintiff Was harmed and the lack of sufficient warnings was a substantial
factor in causing Plaintift’s harm.

17. As a direct, proximate, and legal result of the actions of Defendants alleged
herein and the wrongful conduct of Defendants, plaintiff ELEDA COHEN suffered
debilitating injury which required painful, invasive revision surgery, and was caused to
suffer from, and continues to suffer from emotional distress, pain, discomfort, and
anxiety.

18. As a direct, proximate, and legal result of actions of Defendants alleged
herein and the wrongful conduct of Defendants, plaintiff ELEDA COHEN has required
and will require in the future medical and/or hospital care, attention, and services, and has

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COMPUINT FOR DAMAGES
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incurred and will incur in the future damages consisting of the cost of health and related
care, in an amount as yet unascertained.

19. As a further direct and proximate result of actions of Defendants alleged
herein and the wrongful conduct of Defendants, plaintiff ELEDA COHEN has lost
earnings and will sustain loss of earnings and/or earning capacity. The full namre,
amount and extent of said injuries is presently undetermined; when the full nature,
amount and extent is so determined or at time of trial, plaintiffs will amend this
Complaint accordingly

SECOND CAUSE OF ACTIQl_\_I_
(By ELEDA COHEN for Negligence Against all Defendants)

20. Plaintiff ELEDA COHEN re-aileges and incorporates the above
paragraphs l through 10 as if fully set forth herein

21. Defendants owed a duty of reasonable care to plaintiff ELEDA COHEN to
design, manufacture, sell, and/or distribute the Conserve Plus Total Hip Replacement
System, as described above, in a condition that was safe for its intended purpose.
Defendants’ duty includes a duty to ensure that the Conserve Plus Total Hip Replacement
System did not cause users to suffer from failure and/or unreasonable, dangerous side
effects once implanted. Defendants failed to exercise ordinary care in the manufacture,
design, sale, testing, quality assurance, quality control, marketing, and/or distribution of
the Conserve Plus Total Hip Replacement System in that Defendants knew or should
have known that the defective Conserve Plus Total Hip Replacement System created a
high risk of failure and/or unreasonable, dangerous side effects, some of which are
painful and debilitating and can only be alleviated by revision surgery.

22. Defendants breached their duty to plaintiff ELEDA COHEN in the testing,
design, manufacture, packaging, warning, advertising, promotion, distribution and sale of
Conserve Plus Total Hip Replacement System in that Defendants failed to use ordinary

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COMPLAINT FOR DAMAGES
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care in designing and manufacturing the Conserve Plus Total Hip Replacement System so
as to avoid the manufacturing and design defects that cause the Conserve Plus Total Hip
Replacement System to fail.

23. Defendants also breached their duty to plaintiff ELEDA COHEN by
failing to properly design, manufacture, inspect, and/or prepare the Conserve Plus Total
Hip Replacement System that were implanted into plaintiff and others similarly situated..

24. Although Defendants knew or should have known since 2007, or earlier
that the Conserve Plus Total Hip Replacement System was defective, had a high rate of
failure and unreasonably dangerous side effects, they failed to warn the medical
community and the public. Defendants knew or reasonably should have known that the
Conserve Plus Total Hip Replacement System was dangerous or was likely to be
dangerous When used in a reasonably foreseeable manner. Defendants knew or
reasonably should have known that users would not realize the danger and defendants
failed to adequately warn of the danger. A reasonable manufacturer, distributor, and/or
seller under the same or similar circumstances would have warned of the danger. As a
result of the negligent failure to warn, plaintiff was harrned. Defendants’ failure to warn
Was a substantial factor in causing plaintiffs harm.

25. Defendants knew or should have known that consumers such as plaintiff
ELEDA COHEN risked injury as a result of Defendants’ failure to exercise ordinary
care as described above.

26. Upon information and belief, plaintiffs allege further that Defendants knew
or should have known of the Conserve Plus Total Hip Replacement System defective
nature, as set forth herein, but continued to manufacture, design, market, and sell the
Conserve Plus Total Hip Replacement System so as to maximize sales and profits at the

expense of the health and safety of the public, including plaintiff, of the Conserve Plus

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COMPLAINT FOR DAMAGES _
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Total Hip Replacement System, in conscious or reckless disregard of the foreseeable
harm caused by the defective Conserve Plus Total Hip Replacement System.

27. Plaintiff further contends that Defendants were negligent because it failed
to recall and/or retrofit the Conserve Plus Total Hip Replacement System. Plaintiff is
informed and believes that prior to September of 2007 Defendants knew or should have
known of the potential for the metal particles being released into the hip and surrounding
tissue and failed to recall the product Furthermore, defendants knew or reasonably
should have known that the Conserve Plus Total Hip Replacement System was dangerous
or was likely to be dangerous when used in a reasonably foreseeable manner. Defendants
became aware of this defect after the Conserve Plus Total Hip Replacement System was
sold. Defendants failed to recall and/or retrofit the Conserve Plus Total Hip Replacement
System that a reasonable manufacturer, distributor or seller under the same or similar
circumstances would have recalled and/or retrofitted the product. As a result of
Defendant's failure to recall and/or retrofit the Conserve Plus Total Hip Replacement
System it was implanted in plaintiff and harmed her.

28. As a direct, proximate, and legal result of the negligence, carelessness, and
other wrongdoing and actions of Defendants described herein, plaintiff ELEDA COHEN
suffered debilitating injury which required painful, invasive revision surgery, and was
caused to suffer from, and continues to suffer from emotional distress, pain, discomfort,
and anxiety.

29. As a direct, proximate, and legal result of the negligence, carelessness, and
other wrongdoing and actions of Defendants described herein, plaintiff ELEDA COHEN
has required and will require in the future medical and/ or hospital care, attention, and
services, and has incurred and will incur in the future damages consisting of the cost of

health and related care, in an amount as yet unascertained.

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COl\/[PLA[NT FOR DAMAGES
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30. As a further direct and proximate result of negligence and the wrongful
conduct of Defendants, plaintiff ELEDA COHEN has lost earnings and will sustain loss
of earnings and/or earning capacity The full nature, amount and extent of said injuries is
presently undetermined; when the full nature, amount and extent is so determined or at
time of trial, plaintiffs will amend this Complaint accordingly

TH[RD CAUSE OF ACTION
(By ELEDA COHEN for Breach of Warranty Against All Defendants)

31. Plaintiff ELEDA COHEN re-alleges and incorporates the above
paragraphs l through 10 as if fully set forth herein.

32. Plaintiff also contends that she was harmed by the Conserve Plus Total Hip
Replacement System because it did not have the quality that a buyer would expect and/or
that it was not suitable for the intended purpose.

33. Defendants impliedly warranted that they would sell and deliver Conserve
Plus Total Hip Replacement System that were fit for the particular purposes for which
they were intended Defendants also knew that plaintiff ELEDA COHEN and her
physician intended to use the Conserve Plus Total Hip Replacement System for the
particular purpose of hip replacement

34. Plaintiff ELEDA COHEN and her physician relied upon Defendants’ skill
and/or judgment in furnishing suitable Conserve Plus Total Hip Replacement System.

35. Defendants, by selling and delivering defective ASR Hip System to
plaintiff ELEDA COHEN, breached the implied warranties of merchantability and
fitness in that the defective Conserve Plus Total Hip Replacement System presented an
unreasonable risk of failure and/or contamination, resulting in pain, discomfort, anxiety,
emotional distress, partial disability, and the necessity of painful, invasive surgery

36. As a direct, proximate, and legal result of Defendants’ breach of warranties
described herein, plaintiff ELEDA COHEN suffered debilitating injury which Will

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COMPLA|NT FOR DAMAGES
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required painful, invasive surgery, and was caused to suffer from, and continues to suffer
from emotional distress, pain, discomfortj and anxiety

37. As a direct result of Defendants’ breach of warranties described herein,
plaintiff ELEDA COHEN has required and will require in the future medical and/or
hospital care, attention and seivices, and has incurred and will incur in the future
damages consisting of the cost of health and related care, in an amount as yet
unascertained.

38. As a further direct and proximate result of the Defendants’ breach of
warranties described herein, plaintiff ELEDA COHEN has lost earnings and will sustain
loss of eamings and earning capacity The full nature, amount and extent of said injuries
is presently undetermined; when the full nature, amount and extent is so determined or at
time Of trial, plaintiffs will amend this Complaint accordingly

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs request the following relief: On the First through Third
Causes of Action by Plaintiff ELEDA COHEN AQ;ainst All Defendants:
(a) general damages in an amount according to proof;
(b) special damages according to proof;
(c) interest, costs and expenses in this litigati'on;
(d) prejudgment interest on theamount of-damages attributable to
personal injury pursuant to Civil Code section 329`1;

(e) such other and further relief as may be just and proper;

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COMPLAINT FOR DAMAGES
Cohen v. Wright Medical Group, ]nc., e!al

 

 

 

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands ar trial by jury.

Dated': Dece'mber§@, 201 l

THE Vartazarian LAW‘ FIRM

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Cohen v. Wrighz Medical Groz:p, l`nc., et al

 

 

 
    

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Tel: 818-794-9250

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_';, UNITED STATES DISTRICT COURT
j CENTRAL DISTRICT OF CALIFORNIA
j ELEDA COHEN cAsB NUM‘BER

V. PLAINTIFF{$) C V 1 1»1 05 5 ll dm CQZ(>

WRIGHT MEDICAL GROUP, INC., a corporation,

WRIGHT MEDICAL TECHNOLOGY, iNC., a

corporation, and DOES 1 through 100, inciusive,
DEFENDANT($).

 

SUMMONS

 

 

TO; DEFENDANT(S); WRIGHT MEDICAL GROUP, INC., a corporation, WRIGHT MEDICAL
TECH`NOI:OGY, INC., a corporatioo, and DOES 1 through 100, inclusive

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you

 

 

must serve on the plaintiff an answer to the attached complaint |Il amended complaint

|Il counterclaim Cl cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintist attomey, Mal'tin 1 AarOnS . whose address is
14156 l\/Moiia Blvd., 2nd Fioor, Sherman Oaks, CA 91423 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaintl You also must file
your answer or motion with the court.
Cierk, U.S. District Court

DEC 21 2011 sum aouRGEo\s
Dated: By:

 

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puiy Clerk

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[Use 60 days ifthe defendant is the Um`ted .S'tates or a Uni!ed States agency, or is an ojicer or er;pil_ayee ofthe Uru'ted States. Allowed
60 days by Rul€ 12(0)(3)}. `

 

CV-O l A (12.'07) SUMMONS

 

 

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Case 1:12-CV-0114O-WSD Document 1 Filed 12/21/11 Page 14 of 16

UNI'I`ED STATES DISTRICT COURT, CEN'I`RAL DIS'I'RICI` OF CALIFORNIA

C[VIL COVER SHEET

 

I (¢) PLA!NIIFFS (Chock box if you are representing yourself CJ)

ELEDA COHEN

DEFENDANTS
WR!GHT MED|CAL GROU?, 1'NC._ n corporation WR.IGHT MEDICAL

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(b) Auomeyl (Firm Name, Add:ess md Teiephone Numbcr. lfyou are representing

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Auiomeys (1f Known)
N.'A

 

 

II. BASlS OF JURISD[C'I'ION (Place an X in one box only.)

i'_`l 1 U.S. Govei'nment Plaintiff

El 2 U.S. Govemment Defendmi

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Govemment Not a Pa.rty)

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U.l. CITIZENSH]P OF PRINCTPA.L PARTIES - For Diversl'ty Cases Only
(Piace an X in one box for plaintiff md one for defendant)

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V. REQUESTED IN COWLAINT: JURY DEM.AND: B(Yes Cl No (Checlc ‘Yes' only if demanded in eomplnint_)
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El MONEY DEMANDED IN COM'PLA]§N'I`: 3

 

VL CAUSE OF ACTION (Cile the U.S. Civli Sultl.lte under which you are Fllirlg and write a brief statement ofcaiise. Do not cite jurisdictioml statutes mt]ess diversity.)
Strict Prod\l:ts Linbility (2) Breac.h of Wa!Tanty (3) Negligence under Califomia Law
Vll. NA'I`URE OF SUIT {Phce an X lo one box only.)

 

 
 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVlL COVER SHEET

VIII(a). IDENT[CAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? dNo |I| Yes
lfyes, list case number(s):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? |!(No 13 Yes
If yes, list case number(s):

 

Civil cases are deemed related ira previously l'lled case and tlic present case:
(Check all boxes that apply) 111 A. Arise from the same or closely related transactions, happenings, or events; or
EJ B. Call for determination of the same or substantially related or similar questions of law and fact; or
l:l C. For other reasons would entail substantial duplication of labor if heard by different judges', or
13 D. lnvolve the same patent, trademark or copyright, g one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) Li'st the County in this District; Califomia Counly outside of this Dis!rl`ct,' State if other than Califomi`a; or Forel'gn Country, in which EACH named plaintiff resides
El Check here if the gpvernmcnt, its agencies or employees is a named plaintiff lf`this box is checked,go to item (b)r

 

County in this District:* Caliform'a County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia,' or Foreign Country, in which EACH named defendant resides
|Il Check here if the govemment, its agencies or employees is a named defendant If this box is checked, go to item (GL

 

County in this District:“l Califomia County outside of this District; State, if other than California; or Foreign Country

 

Delaware

 

 

 

 

(c) Ll`st the County in this Dl'slrl`et; California Courity outside of this Distril:t; State if other than Califoml`a; or Foreign Counti'y, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land iovolvcd.

 

County in this Distrl'ct.'* California County outside of this Distn'ct; State, if other than Califomia; or Foreign Country

 

Los Angeles

 

 

 

 

* Los Angeles. Orimge, San Bernardino, Riverside, Ventura, Santa Barbara, or Slm Luili Obispo Coulities
Note: in land condemnation cases use the location of the tract of land involved gm

 

X_ slGNATURE ol~' Ai'roRNEv (on PRo PER).~ \ note D°°ember 20» 2011

Norice to Coullsel/Partics: The CV-7l (JS-44) Ct`vil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law, This form, approved by the Judicial Conferencc of the United Statcs in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statisties, venue and initiating the civil docket sheet (For more detailed instructions see separate instructions sheet.)

 

Key to $tatisti'ca.l codes relating to Socl'al Securl`ty Cases:
Nature ofSuit Code Abbreviation Substantive Statcment of Cause of Actioo

861 H]A All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 _U.s_c. 1935FF(b))

862 BL AlI claims for “Black Lu.ng” benefits under 'l`itle 4, Part B, of the Federal Coal Mine Healtl~l and Safety Act of 1969.
(30 U.s.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U,S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Seeurity Act, as amended (42
U.s.C. (g))

 

CV-7l (05/08) CIVIL COVER SHEET Page 2 of 2

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALlFORNIA

N()TICE OF ASSIGNMENT T() UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge John Kronstadt and the assigned discovery
Magistrate Judge is Ralph Zarefsl<y.

The case number on all documents filed with the Court should read as follows:

cv11- 10554 JAK (sz)

Pursuant to Gcneral Order 05-07 of the United States District Court for the Ceritral

Distn`ct of California, the Magistrate Judgc has been designated to hear discovery related
motions

A?l discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTlCE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is
i'iied, a copy of this notice must be served on ali piaintifi's).

Subsequent documents must be died at the following location;

[X] Western Division [_] Southern Division [_] Eastern Division
312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to die at the proper location will result in your documents being returned to you.

 

 

CV-iB (03/06} NOT|CE OF ASS|GN|V|ENT TO UN|TED STATES MAG|STRATE JUDGE FOR DISCOVERY

